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 8                                 UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN FRANCISCO DIVISION

11                                                             )   Case No. 3:07-05944 SC
                                                               )
12   IN RE: CATHODE RAY TUBE (CRT)                             )   MDL No. 1917
     ANTITRUST LITIGATION                                      )
13                                                             )   [PROPOSED] ORDER GRANTING
                                                               )   DEFENDANTS’ MOTION TO
14   This Document Relates to:                                 )   CERTIFY ORDER FOR
                                                               )   INTERLOCUTORY APPEAL
15   DIRECT PURCHASER ACTIONS                                  )   PURSUANT TO 28 U.S.C. § 1292(b)
                                                               )
16                                                             )
                                                               )
17

18          Upon consideration of Defendants’ Motion to Certify Order for Interlocutory Appeal
19   Pursuant to 28 U.S.C. § 1292(b) (“Motion”), any responses thereto, as well as the arguments
20   presented by counsel during oral argument, it is hereby
21          ORDERED that the Motion is granted; and it is further
22          ORDERED that the Court’s Order Granting in Part and Denying in Part Defendants’ Joint
23   Motion for Summary Judgment [Dkt. No. 1470] is hereby amended to include the following
24   language: “Pursuant to 28 U.S.C. § 1292(b), the Court finds that this Order involves a controlling
25   question of law as to which there is substantial ground for difference of opinion and that an
26   immediate appeal from this Order may materially advance the ultimate termination of the litigation.”
27

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     [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO CERTIFY ORDER                  Case No. 07-05944 SC
     FOR INTERLOCUTORY APPEAL PURSUANT TO 28 U.S.C. § 1292(b)                             MDL No. 1917
        Case 4:07-cv-05944-JST Document 1499-1 Filed 12/19/12 Page 2 of 2




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 2   IT IS SO ORDERED
 3
     Dated:___________________           _____________________________________________
 4                                                      Hon. Samuel Conti
                                                    United States District Judge
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO CERTIFY ORDER   Case No. 07-05944 SC
     FOR INTERLOCUTORY APPEAL PURSUANT TO 28 U.S.C. § 1292(b)              MDL No. 1917
